       8:98-cr-00126-LES-FG3     Doc # 630     Filed: 06/28/07   Page 1 of 1 - Page ID # 507

                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

IN RE: Criminal Cases

      This matter is before the Court upon the Court's own motion:

       IT IS HEREBY ORDERED that government's exhibits in the cases listed below are to be returned
to the United States Attorney for appropriate disposition.

      CASE NUMBER                                    CAPTION


      8:99CR72                                USA v. Rajitha Goli
      8:98CR126                               USA v. Miguel A. Calderin-Rodriquez, Alberto
                                              Martinez-Mostelier, Ernesto Silverio Contreras, Ricardo
                                              Gorrin




      DATED this 28th day of June, 2007.


                                              BY THE COURT

                                              s/Lyle E. Strom
                                              Senior United States District Judge
